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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

 DEONTE JAMES,
                      Plaintiff,
        v.                                    Case No. 1:21-cv-1958

 CUYAHOGA COUNTY, et al.                      Judge J. Philip Calabrese
                      Defendants.
                                              Magistrate Judge Jonathan D. Greenberg


  PLAINTIFF’S MOTION TO COMPEL DEFENDANT CUYAHOGA COUNTY TO PRODUCE USE-
    OF-FORCE VIDEOS AND REMOVE CONFIDENTIALITY DESIGNATIONS FROM PUBLIC
                                  RECORDS

       Plaintiff Deonte James respectfully moves the Court to enter an order under Fed.

R. Civ. P. 37(a) compelling Defendant Cuyahoga County to do the following within a

time deemed reasonable by the Court:

       (1)    Produce the videos identified in the May 19, 2022 letter attached to the
              memorandum in support of this motion as Exhibit 1-Z or provide an
              explanation for why the videos do not exist, and

       (2)    Remove the confidentiality designations and provide appropriate
              redactions to CC000955–7488 and videos produced November 16, 2022.

       If the Court grants this motion, in whole or in part, Plaintiff requests an award of

reasonable expenses, including attorneys’ fees, under Fed. R. Civ. P. 37(a)(5).

       If the Court orders the video production, Plaintiff also requests that the Court set

a status conference 30 days after the production date to set a schedule for any additional

video productions needed.




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       The undersigned certifies that she conferred telephonically with Defendant

Cuyahoga County’s counsel regarding these disputes on October 17, 2022, as required by

Fed. R. Civ. P. 37(a)(1) and Local Rule 37.1.

Dated: November 22, 2022           Respectfully submitted,

                                   /s/ Jessica S. Savoie
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                                   Jessica S. Savoie (0099330)
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